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5                           UNITED STATES DISTRICT COURT
6                         SOUTHERN DISTRICT OF CALIFORNIA
7    ENRIQUE MARTINEZ, an individual,           Case No.: 3:20-cv-01924-MMA-BLM
     ERIC TRUMPE, an individual,
8                                               ORDER GRANTING JOINT
                   Plaintiffs,                  MOTION FOR ORDER PURSUANT
9
           v.                                   TO FEDERAL RULE OF
10                                              EVIDENCE 502(d)
     OMNI HOTELS MANAGEMENT
11   CORPORATION, and DOES 1 through
     25, Inclusive,                             [ECF No. 13]
12
                   Defendants.
13
14         The production of privileged or work-product protected documents, electronically
15   stored information (ESI), or other information, whether inadvertent or otherwise, is not a
16   waiver of the privilege or protection from discovery in this case or in any other federal or
17   state proceeding. This Order shall be interpreted to provide the maximum protection
18   allowed by Federal Rule of Evidence 502(d).
19         Nothing contained herein is intended to or shall serve to limit a party’s right to
20   conduct a review of documents, ESI, or information (including metadata) for relevance,
21   responsiveness, and/or segregation of privileged and/or protected information before
22   production.
23         SO ORDERED.
24   Dated: 10/22/2020
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                                               CASE NO. 3:20-cv-01924-MMA-BLM
                           ORDER PURSUANT TO FEDERAL RULE OF EVIDENCE 502(d)
